Case 2:05-cr-20268-.]DB Document 15 Filed 08/19/05 Page 1 of 2 Page|D 15

 

 

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UNITED sTATEs 0F AMERICA, @KP§§F_
Plaintiff,
v. Jo§-zoz€a-B
05-20047-3

CHARLES FR.ANKLIN GRUBB,

Defendant.

 

ORDER FOR UNITED STATES MARSHAL
TO PROVIDE TRANSPORTATION

 

This cause having come before this Court on the 18 m day of
August, 2005 upon the petition of the defendant, pursuant to 18
U.S.C. §4285, for transportation and subsistence from Killeen,
Texas to Memphis, Tennessee for a Report Date in court on Monday,
August 29, 2005 at 9:30 a.m.

IT IS ORDERED, ADJUDGED AND DECREED that the United States
Marshal shall provide, to defendant Charles Franklin Grubb,

transportation and per diem for subsistence from Killeen, Texas to

Memphis, Tennessee.

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ONO BLE J. DANIEL B§EEN ;¢
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Notice of Distribution

This notice confirms a copy of the document docketed as number 15 in
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Honorable J. Breen
US DISTRICT COURT

